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           EXHIBIT # 2
  Case 1:24-cv-03880-LDH-LKE Document 8-3 Filed 06/19/24 Page 2 of 3 PageID #: 265


  From: Lajewski, Leslie A. leslie.lajewski@ogletree.com
Subject: RE: Moyle, et al. v. UPS. 503187/2024
   Date: February 12, 2024 at 1:42 PM
     To: Tyrone Blackburn tblackburn@tablackburnlaw.com, Laura Watanabe LWatanabe@welgpllc.com


       Hello Tyrone,

       I do not know if my client will waive service of process or allow me to accept service of
       this or any of the other complaints you mentioned in your email below.

       Allow me to find out and get back to you.

       Regards,

       Leslie
       Leslie A. Lajewski | Ogletree Deakins
       10 Madison Avenue, Suite 400 | Morristown, NJ 07960 | Telephone: 973-630-2322
       leslie.lajewski@ogletree.com | www.ogletree.com | Bio

       From: Tyrone Blackburn <tblackburn@tablackburnlaw.com>
       Sent: Monday, February 12, 2024 1:29 PM
       To: Lajewski, Leslie A. <leslie.lajewski@ogletreedeakins.com>; Laura Watanabe
       <LWatanabe@welgpllc.com>
       Subject: Moyle, et al. v. UPS. 503187/2024

       [Caution: Email received from external source]

       Good afternoon Lisa,

       Wanted to inform you that the UPS class case has been filed in Kings County Court. The
       case is attached here. Will your client waive service of process?

       FYI, cases for Fari Murray, Danny Moyle, and Roy Welch were filed as well. I will send
       you those pleadings under a different email as they have different case numbers. Tyler Lilly
       and Travis Steele will both be filed this week as they are reviewing the pleadings.

       I am submitting Pro Hac applications for Kevin Mahoney, Rodney Diggs, and their
       colleagues.

       Regards,

       Tyrone A. Blackburn, Esq.
       T. A. Blackburn Law, PLLC.
       Phone: 347-342-7432
       TABlackburnlaw.com
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        Filed Complaint-
         Moyel…24.pdf
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    Filed Complaint-
     Moyel…24.pdf
